                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                                      00250-AN
                                                     3:25-cr-___________________

               v.                                    INFORMATION

ELI VICTOR MCKENZIE,                                 41 C.F.R. § 102.74.385

               Defendant.


                       THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                               (Failing to Obey a Lawful Order)
                                    (41 C.F.R. § 102.74.385)

       On or about June 16, 2025, in the District of Oregon, the defendant ELI VICTOR

MCKENZIE did willfully enter in and on federal property, to wit: the grounds of the

Immigration and Customs Enforcement Building and fail to comply with the lawful direction of

federal police officers and other authorized individuals;

       In violation of Title 40, United States Code, Section 1315 and Title 41, Code of Federal

Regulations, Section 102-74.385, a class C misdemeanor.


Dated: June 17, 2025                                 Respectfully submitted,

                                                     WILLIAM M. NARUS
                                                     Acting United States Attorney


                                                     PAUL T. MALONEY, OSB# 013366
                                                     Assistant United States Attorney

Misdemeanor Information                                                                   Page 1
